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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION


UNITED STATES OF AMERICA

vs.                                                    3:00cr48/LAC
                                                       3:09cv129/LAC/MD
JERROLD L. GUNN
_____________________________/

                                        ORDER

        This cause is before the court upon the government’s response to defendant’s
motion to vacate, set aside or correct sentence pursuant to Title 28, United States Code,
Section 2255 (doc. 1731). Before the court rules on this matter, the defendant shall have
the opportunity to respond.
        Accordingly, it is ORDERED:
        Defendant shall have thirty (30) days from the date this order is entered on the
docket in which to file a reply to the government’s response.


        DONE AND ORDERED this 25th day of June, 2009.




                                       /s/   Miles Davis
                                             MILES DAVIS
                                             UNITED STATES MAGISTRATE JUDGE
